            Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION




           Patent Armory Inc.,                               Case No. 6:23-cv-575

                 Plaintiff,                                  Patent Case

                 v.                                          Jury Trial Demanded

           Google LLC,

                 Defendant.



                                 COMPLAINT FOR PATENT INFRINGEMENT

       1.       Plaintiff Patent Armory Inc. (“Plaintiff”), through its attorneys, complains of

Google LLC (“Defendant”), and alleges the following:

                                                 PARTIES

       2.       Plaintiff Patent Armory Inc. is a corporation organized and existing under the

laws of Canada that maintains its principal place of business at 400-1565 Carling Ave., Ottawa,

Ontario, Canada K1Z 8R1.

       3.       Defendant Google LLC is a corporation organized and existing under the laws of

Delaware that maintains an established place of business at 500 W 2nd Street, Austin, TX 78701.

                                               JURISDICTION

       4.       This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       5.       This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

                                                  1
            Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 2 of 13




       6.       This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                    VENUE

       7.       Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                              PATENTS-IN-SUIT

       8.       Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

10,237,420; 10,491,748; 7,023,979; 7,269,253; 8,831,205; and 9,456,086 (the “Patents-in-Suit”);

including all rights to enforce and prosecute actions for infringement and to collect damages for

all relevant times against infringers of the Patents-in-Suit. Accordingly, Plaintiff possesses the

exclusive right and standing to prosecute the present action for infringement of the Patents-in-

Suit by Defendant.

                                              THE ’420 PATENT

       9.       The ’420 Patent is entitled “Method and system for matching entities in an

auction,” and issued 2019-03-19. The application leading to the ’420 Patent was filed on 2017-

12-28. A true and correct copy of the ’420 Patent is attached hereto as Exhibit 1 and incorporated

herein by reference.

                                              THE ’748 PATENT

       10.      The ’748 Patent is entitled “Intelligent communication routing system and

method,” and issued 2019-11-26. The application leading to the ’748 Patent was filed on 2017-

10-30. A true and correct copy of the ’748 Patent is attached hereto as Exhibit 2 and incorporated

herein by reference.
                                                   2
          Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 3 of 13




                                             THE ’979 PATENT

       11.     The ’979 Patent is entitled “Telephony control system with intelligent call

routing,” and issued 2006-04-04. The application leading to the ’979 Patent was filed on 2003-

03-07. A true and correct copy of the ’979 Patent is attached hereto as Exhibit 3 and incorporated

herein by reference.

                                             THE ’253 PATENT

       12.     The ’253 Patent is entitled “Telephony control system with intelligent call

routing,” and issued 2007-09-11. The application leading to the ’253 Patent was filed on 2006-

03-23. A true and correct copy of the ’253 Patent is attached hereto as Exhibit 4 and incorporated

herein by reference.

                                             THE ’205 PATENT

       13.     The ’205 Patent is entitled “Intelligent communication routing,” and issued 2014-

09-09. The application leading to the ’205 Patent was filed on 2013-03-15. A true and correct

copy of the ’205 Patent is attached hereto as Exhibit 5 and incorporated herein by reference.

                                             THE ’086 PATENT

       14.     The ’086 Patent is entitled “Method and system for matching entities in an

auction,” and issued 2016-09-27. The application leading to the ’086 Patent was filed on 2010-

03-08. A true and correct copy of the ’086 Patent is attached hereto as Exhibit 6 and incorporated

herein by reference.

                             COUNT 1: INFRINGEMENT OF THE ’420 PATENT

       15.     Plaintiff incorporates the above paragraphs herein by reference.

       16.     Direct Infringement. Defendant directly infringed one or more claims of the

’420 Patent in at least this District by making, using, offering to sell, selling and/or importing,

without limitation, at least the Defendant products identified in the charts incorporated into this
                                                 3
          Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 4 of 13




Count below (among the “Exemplary Defendant Products”) that infringed at least the exemplary

claims of the ’420 Patent also identified in the charts incorporated into this Count below (the

“Exemplary ’420 Patent Claims”) literally or by the doctrine of equivalents. On information and

belief, numerous other devices that infringed the claims of the ’420 Patent have been made, used,

sold, imported, and offered for sale by Defendant and/or its customers.

       17.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’420 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       18.      Exhibit 7 includes charts comparing the Exemplary ’420 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’420 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’420 Patent Claims.

       19.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 7.

       20.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 2: INFRINGEMENT OF THE ’748 PATENT

       21.      Plaintiff incorporates the above paragraphs herein by reference.

       22.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’748 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’748 Patent also identified in the charts incorporated


                                                  4
         Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 5 of 13




into this Count below (the “Exemplary ’748 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’748 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       23.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’748 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       24.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       25.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’748 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’748 Patent. See Exhibit 8

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       26.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’748 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’748 Patent.




                                                   5
          Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 6 of 13




       27.      Exhibit 8 includes charts comparing the Exemplary ’748 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’748 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’748 Patent Claims.

       28.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 8.

       29.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 3: INFRINGEMENT OF THE ’979 PATENT

       30.      Plaintiff incorporates the above paragraphs herein by reference.

       31.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’979 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’979 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’979 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’979 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       32.      Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’979 Patent Claims, by having its employees internally

test and use these Exemplary Products.




                                                  6
          Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 7 of 13




       33.      Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       34.      Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’979 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’979 Patent. See Exhibit 9

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       35.      Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’979 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’979 Patent.

       36.      Exhibit 9 includes charts comparing the Exemplary ’979 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’979 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’979 Patent Claims.

       37.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 9.

       38.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                   7
          Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 8 of 13




                             COUNT 4: INFRINGEMENT OF THE ’253 PATENT

       39.      Plaintiff incorporates the above paragraphs herein by reference.

       40.      Direct Infringement. Defendant directly infringed one or more claims of the

’253 Patent in at least this District by making, using, offering to sell, selling and/or importing,

without limitation, at least the Defendant products identified in the charts incorporated into this

Count below (among the “Exemplary Defendant Products”) that infringed at least the exemplary

claims of the ’253 Patent also identified in the charts incorporated into this Count below (the

“Exemplary ’253 Patent Claims”) literally or by the doctrine of equivalents. On information and

belief, numerous other devices that infringed the claims of the ’253 Patent have been made, used,

sold, imported, and offered for sale by Defendant and/or its customers.

       41.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’253 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       42.      Exhibit 10 includes charts comparing the Exemplary ’253 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’253 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’253 Patent Claims.

       43.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 10.

       44.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 5: INFRINGEMENT OF THE ’205 PATENT

       45.      Plaintiff incorporates the above paragraphs herein by reference.


                                                  8
          Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 9 of 13




       46.      Direct Infringement. Defendant directly infringed one or more claims of the

’205 Patent in at least this District by making, using, offering to sell, selling and/or importing,

without limitation, at least the Defendant products identified in the charts incorporated into this

Count below (among the “Exemplary Defendant Products”) that infringed at least the exemplary

claims of the ’205 Patent also identified in the charts incorporated into this Count below (the

“Exemplary ’205 Patent Claims”) literally or by the doctrine of equivalents. On information and

belief, numerous other devices that infringed the claims of the ’205 Patent have been made, used,

sold, imported, and offered for sale by Defendant and/or its customers.

       47.      Defendant also directly infringed, literally or under the doctrine of equivalents,

the Exemplary ’205 Patent Claims, by having its employees internally test and use these

Exemplary Products.

       48.      Exhibit 11 includes charts comparing the Exemplary ’205 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’205 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’205 Patent Claims.

       49.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 11.

       50.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 6: INFRINGEMENT OF THE ’086 PATENT

       51.      Plaintiff incorporates the above paragraphs herein by reference.

       52.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’086 Patent in at least this District by making, using, offering to sell,


                                                  9
         Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 10 of 13




selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’086 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’086 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’086 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       53.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’086 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       54.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       55.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’086 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’086 Patent. See Exhibit 12

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       56.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’086 Patent, literally or by the doctrine of equivalents, by selling

                                                 10
         Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 11 of 13




Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’086 Patent.

        57.     Exhibit 12 includes charts comparing the Exemplary ’086 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’086 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’086 Patent Claims.

        58.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 12.

        59.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        60.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’420 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly one or more claims of the ’420

                Patent;

        C.      A judgment that the ’748 Patent is valid and enforceable

        D.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’748 Patent;

        E.      A judgment that the ’979 Patent is valid and enforceable




                                                     11
     Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 12 of 13




F.       A judgment that Defendant has infringed directly and indirectly one or more

         claims of the ’979 Patent;

G.       A judgment that the ’253 Patent is valid and enforceable

H.       A judgment that Defendant has infringed directly one or more claims of the ’253

         Patent;

I.       A judgment that the ’205 Patent is valid and enforceable

J.       A judgment that Defendant has infringed directly one or more claims of the ’205

         Patent;

K.       A judgment that the ’086 Patent is valid and enforceable

L.       A judgment that Defendant has infringed directly and indirectly one or more

         claims of the ’086 Patent;

M.       An accounting of all damages not presented at trial;

N.       A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

         for Defendant's continuing or future infringement, up until the date such judgment

         is entered with respect to the ’748; ’979; and ’086 Patents, including pre- or post-

         judgment interest, costs, and disbursements as justified under 35 U.S.C. § 284;

O.       A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

         for Defendant's past infringement at least with respect to the ’420; ’253; and ’205

         Patents.

P.       And, if necessary, to adequately compensate Plaintiff for Defendant's

         infringement, an accounting:




                                          12
        Case 6:23-cv-00575-ADA Document 1 Filed 08/07/23 Page 13 of 13




               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

              ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: August 7, 2023                         Respectfully submitted,

                                              /s/ Isaac Rabicoff
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                                                13
